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SO ORDERED.

SIGNED this 1st day of November, 2019.




                    UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            DURHAM DIVISION

   IN RE:                              )
                                       )
   Lent C. Carr, II and                )          Case No. 18-80386
   Deltarina V. Carr,                  )          Chapter 13
         Debtors.                      )
   ____________________________________)

                                  ORDER
      DENYING CREDITOR’S MOTION TO RECONSIDER ORDER DISALLOWING CLAIM
         THIS MATTER came before the Court on pro se creditor Jannetta Jordan’s
   (the “Creditor”) filing of a document captioned as Petition for Relief of Disallowed
   Judgment (Docket No. 78, the “Motion”), which the Court interprets as a motion to
   reconsider its Order Sustaining Objection to Claim entered on October 26, 2018
   (Docket No. 52, the “Order”). The Debtors filed a response on October 23, 2019,
   objecting to the relief sought by the Creditor (Docket No. 94). The Court held a
   hearing on the Creditor’s Motion on October 29, 2019, at which Eric Fabricius, Esq.,
   appeared on behalf of the Debtors, and Benjamin Lovell, Esq., appeared on behalf of
   the Chapter 13 Trustee. The Creditor did not appear at the hearing and provided no
   advanced notice to the Court or counsel of her inability to attend.
         In the Motion, the Creditor seeks to vacate the Order, in which the Court
   sustained the Debtors’ objection and disallowed the Creditor’s bankruptcy claim
   (claim # 5) in the amount of $250,000. The Court entered the Order after the
   Creditor failed to file a response to the Debtors’ objection and did not appear at the
   hearing on the objection. The Court found the Creditor was properly noticed at the
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address provided in her proof of claim, and the Creditor continues to cite this
address as her current address (Docket No. 78).
      In the Motion, the Creditor described the circumstances behind the filing of
her claim in this bankruptcy case (claim # 5), specifically alleging the Debtors
misrepresented themselves and unlawfully obtained title to the Creditor’s
properties. Nowhere in the Motion, however, does the Creditor contend she received
insufficient notice of the Debtors’ objection to claim. The Creditor similarly fails to
cite a mistake, newly discovered evidence, or any other grounds for relief under
Bankruptcy Rule 9024 that would justify vacating the Order.
      Federal Rule of Bankruptcy Procedure 9024, which incorporates Federal Rule
of Civil Procedure 60, sets forth the grounds for relief from a judgment or order:
      1. mistake, inadvertence, surprise, or excusable neglect;
      2. newly discovered evidence that, with reasonable diligence, could not have
         been discovered in time to move for a new trial under Rule 59(b);
      3. fraud (whether previously called intrinsic or extrinsic), misrepresentation,
         or misconduct by an opposing party;
      4. the judgment is void;
      5. the judgment has been satisfied, released, or discharged; it is based on an
         earlier judgment that has been reversed or vacated; or applying it
         prospectively is no longer equitable; or
      6. any other reason that justifies relief.
Fed. R. Civ. P. 60(b).
      In order to obtain relief under Rule 60(b)(6) there must be a showing of
extraordinary circumstances justifying relief and the movant must not have
contributed to the situation from which relief is sought. In re Clayton, No. 02-
82063C-13D, 2003 WL 22014579, at *3 (Bankr. M.D.N.C. Aug. 19, 2003) (citation
omitted). As the Creditor cited no basis for relief in the Motion, and failed to appear
at the hearing, the Court finds no possible grounds for reconsideration of the Order.
      For the reasons stated herein, IT IS HEREBY ORDERED that Creditor
Jannetta Jordan’s motion to reconsider the Court’s October 26, 2018 order
disallowing her bankruptcy claim is denied in its entirety.
                                   END OF DOCUMENT
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                                   PARTIES TO BE SERVED

                                   Lent and Deltarina Carr
                                       18-80386 C-13




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